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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                             No. 1:20-cr-183

               vs.                                            Hon. Robert J. Jonker
                                                              Chief United States District Judge
ADAM DEAN FOX,
BARRY GORDON CROFT, JR.,
KALEB JAMES FRANKS,
DANIEL JOSEPH HARRIS,
BRANDON MICHAEL-RAY CASERTA,

                  Defendants.
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                       NOTICE REGARDING EXPERT TESTIMONY

       The United States hereby provides notice pursuant to Fed. R. Crim. P. 16(a)(1)(G) that it

intends to call the following witnesses in its case-in-chief. Their curriculum vitaes are attached.

   1. Forensic Examiner Kelly A. VanArsdale, FBI.

       Ms. VanArsdale is an explosives expert at the FBI Laboratory in Quantico, Virginia. She

is expected to testify consistently with her lab report, at Bates 00165811 et seq. Specifically, she

will provide an opinion that the components found at Barry Croft Jr.’s residence could be used to

make improvised explosive devices, and that a bomb constructed from those same components

(such as the one detonated at Luther, Michigan on September 13, 2020) would constitute a

destructive device.

   2. Forensic Chemist Robert W. Gillette, FBI.

   Mr. Gillette is forensic examiner (chemist) at the FBI Laboratory in Quantico, Virginia. He is

expected to testify consistently with his lab report, at Bates 00187738, et seq. He will provide an

opinion that the smokeless powder, fuse, and exploding target materials seized from Barry Croft
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Jr.’s residence contained the chemicals referenced in the report. He will also testify that if

properly mixed, they would produce an explosive composition.

   3. Special Agent Michael H. Jacobs, ATF.

       SA Jacobs is a firearms examiner for the Bureau of Alcohol, Tobacco, Firearms, and

Explosives. He is expected to testify consistently with his National Firearms Act (NFA)

determination report, at Bates 00158270. Specifically, he will testify that the Anderson

Manufacturing, AM-15 semiautomatic assault rifle seized from Daniel Harris’ residence has a

barrel length of approximately 10.5 inches, and therefore qualifies as a short-barreled rifle (SBR)

within the meaning of 26 U.S.C. § 5845(a)(3).

   4. Senior Forensic Examiner Michael Yauk, FBI.

       SA Yauk is a forensic examiner with the FBI’s Computer Analysis Response Team

(CART). He will testify regarding the equipment and procedures used to extract digital

information from the cellular telephones and electronic devices seized from the defendants.

                                               Respectfully submitted,

                                               ANDREW BYERLY BIRGE
                                               United States Attorney

Dated: September 15, 2021                        /s/ Nils R. Kessler
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